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                    United States Court of Appeals
                                  FIFTH CIRCUIT
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                              August 02, 2018


 Mr. Tony R. Moore
 Western District of Louisiana, Lake Charles
 United States District Court
 300 Fannin Street
 Suite 1167
 Shreveport, LA 71101-0000

        No. 18-30011   Joseph Chhim v. Golden Nugget Lake Charles
        USDC No. 2:16-CV-1094


 Dear Mr. Moore,
 Enclosed is a copy of the judgment issued as the mandate and a
 copy of the court's opinion.


                                   Sincerely,
                                   LYLE W. CAYCE, Clerk
                                   By: _/s/Lisa Ferrara_____________
                                   Lisa Ferrara, Deputy Clerk
                                   504-310-7675
 cc w/encl:
      Mr. Joseph Chhim
      Ms. Kathlyn Gloria Perez
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          IN THE UNITED STATES COURT OF APPEALS
                  FOR THE FIFTH CIRCUIT
                           _______________________

                                No. 18-30011
                                                               United States Court of Appeals
                             Summary Calendar                           Fifth Circuit

                           _______________________                    FILED
                                                                  July 11, 2018
                        D.C. Docket No. 2:16-CV-1094
                                                                 Lyle W. Cayce
                                                                      Clerk

 JOSEPH CHHIM,

            Plaintiff - Appellant

 v.

 GOLDEN NUGGET LAKE CHARLES, L.L.C., improperly referred to as
 Golden Nugget Casino Lake Charles,

            Defendant - Appellee

             Appeals from the United States District Court for the
                        Western District of Louisiana

 Before REAVLEY, GRAVES, and HO, Circuit Judges.

                               JUDGMENT

      This cause was considered on the record on appeal and the briefs on file.

       It is ordered and adjudged that the judgment of the District Court is
 affirmed.




                                            A True Copy
                                            Certified Aug 02, 2018


                                            Clerk, U.S. Court of Appeals, Fifth Circuit
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            IN THE UNITED STATES COURT OF APPEALS
                     FOR THE FIFTH CIRCUIT


                                      No. 18-30011                         United States Court of Appeals
                                    Summary Calendar                                Fifth Circuit

                                                                                  FILED
                                                                              July 11, 2018
 JOSEPH CHHIM,                                                               Lyle W. Cayce
                                                                                  Clerk
                Plaintiff-Appellant,

 v.

 GOLDEN NUGGET LAKE CHARLES, L.L.C., improperly referred
 to as Golden Nugget Casino Lake Charles,

                Defendant-Appellee.


                    Appeals from the United States District Court
                        for the Western District of Louisiana
                               USDC No. 2:16-CV-1094


 Before REAVLEY, GRAVES, and HO, Circuit Judges.
 PER CURIAM: *
        Plaintiff-Appellant Joseph Chhim, who proceeds in this action pro se, ap-
 peals from the district court’s grant of summary judgment in favor of Defendant-
 Appellee Golden Nugget Lake Charles, L.L.C. (“Golden Nugget”), on his claims
 that Golden Nugget failed to hire him in violation of Title VII of the Civil Rights
 Act of 1964, 42 U.S.C. § 2000e et seq., and the Age Discrimination in Employment
 Act of 1967, 29 U.S.C. § 621 et seq. For the reasons that follow, we affirm.



        *Pursuant to 5th Cir. R. 47.5, the court has determined that this opinion should not be
 published and is not precedent except under the limited circumstances set forth in 5th Cir. R.
 47.5.4.
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       In June 2014, Golden Nugget was in the midst of a mass recruiting effort
 to attract employment candidates in advance of the December 2014 opening of
 its casino resort in Lake Charles, Louisiana. Chhim, a now-seventy-three-year
 old U.S. citizen of Cambodian descent, applied for a position as facilities super-
 visor through Golden Nugget’s online application system. His application was
 automatically rejected. In a subsequent email exchange, Golden Nugget’s Direc-
 tor of Human Resources, Laura Jasso, informed Chhim that the rejection was
 due to his failure to complete an online assessment, required of all employment
 applicants, that is designed to gauge an applicant’s strength in customer service
 and engagement. Chhim completed the assessment, scoring a twelve percent—
 well below the recommended minimum of thirty percent. Based on this low score,
 Golden Nugget’s system generated and sent an automated rejection to Chhim on
 July 12, 2014. Golden Nugget never filled the position for which Chhim applied.
       Chhim later filed the instant action, alleging that Golden Nugget discrim-
 inated against him on the basis of race, national origin, and age by not hiring
 him as facilities supervisor. The district court granted summary judgment in
 favor of Golden Nugget, and Chhim timely appealed.
       We review a grant of summary judgment de novo, applying the same stand-
 ards as the district court. Ezell v. Kan. City S. Ry. Co., 866 F.3d 294, 297 (5th
 Cir. 2017). Summary judgment “is appropriate only if the movant shows that
 there is no genuine issue as to any material fact and the movant is entitled to
 judgment as a matter of law.” Fed. R. Civ. P. 56(a); see also Tolan v. Cotton, 134
 S. Ct. 1861, 1866 (2014) (per curiam). We construe the evidence in the light most
 favorable to the nonmoving party and draw all reasonable inferences in that
 party’s favor. R & L Inv. Prop., LLC v. Hamm, 715 F.3d 145, 149 (5th Cir. 2013).
       In both Title VII and ADEA failure-to-hire cases based on circumstantial
 evidence, federal courts analyze plaintiffs’ claims using the well-trod framework
 established by the Supreme Court in McDonnell Douglas Corp. v. Green, 411 U.S.


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 792 (1973). See, e.g., Sandstad v. CB Richard Ellis, Inc., 309 F.3d 893, 896 n.2
 (5th Cir. 2002) (“This circuit applies the McDonnell Douglas rubric to both Title
 VII and ADEA claims.”). As this court explained to Chhim in a previous appeal,
 under this framework, a plaintiff must first establish a prima facie case of dis-
 crimination by demonstrating that “(1) he is a member of a protected class; (2) he
 was qualified and applied for the job; (3) the employer rejected him for the job
 despite his qualifications; and (4) a similarly situated applicant outside the pro-
 tected class was hired.” Chhim v. Univ. of Tex., 836 F.3d 467, 470 (5th Cir. 2016)
 (per curiam); see also Rogers v. Pearland Indep. Sch. Dist., 827 F.3d 403, 408
 (5th Cir. 2016); Blow v. City of San Antonio, 236 F.3d 293, 296 (5th Cir. 2001).
 It is undisputed that Chhim satisfies the first prong of this test as well as half
 of the second (he applied for the facilities supervisor position) and half of the
 third (Golden Nugget rejected him). But even if we were to assume that Chhim
 was qualified for the job (the district court found he was not) and that he was
 rejected despite those qualifications, he has failed to establish a genuine issue
 on the fourth prong, because he has offered no evidence to refute Golden Nug-
 get’s contention, supported by competent evidence, that the facilities supervisor
 position was never filled. Specifically, Golden Nugget submitted a declaration
 by Elizabeth Guest, Manager of Corporate Recruiting for Landry’s Management,
 LP, a company that provides human resources support to Golden Nugget, at-
 testing that Golden Nugget never hired anyone to fill the position for which
 Chhim applied.
       Although we usually draw reasonable inferences in favor of the nonmoving
 party in reviewing a summary judgment motion, we do so only where both par-
 ties have submitted evidence of contradictory facts; we cannot assume, in the
 absence of proof, that the nonmoving party could or would prove the necessary
 facts. McCarty v. Hillstone Rest. Grp., Inc., 864 F.3d 354, 358 (5th Cir. 2017).
 Golden Nugget proffered evidence on the fourth prong of the prima facie case,


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 and Chhim proffered nothing to counter it. Thus, he fails to satisfy this prong,
 which alone is fatal to his claims. E.g., McClaine v. Boeing Co., 544 F. App’x 474,
 477 (5th Cir. 2013) (per curiam). His status as a pro se litigant does not alter
 this conclusion. See EEOC v. Simbaki, Ltd., 767 F.3d 475, 484 (5th Cir. 2014)
 (“Despite our general willingness to construe pro se filings liberally, we still re-
 quire pro se parties to fundamentally abide by the rules that govern the federal
 courts. . . . Pro se litigants must properly . . . present summary judgment evi-
 dence . . . .” (citations and internal quotation marks omitted)).
       The judgment of the district court is AFFIRMED.




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